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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Caitlyn Vann
                               Plaintiff,
v.                                                   Case No.: 1:15−cv−07792
                                                     Honorable Gary Feinerman
DePaul University
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 10, 2016:


        MINUTE entry before the Honorable Gary Feinerman:Status hearing held and
continued to 4/7/2016 at 9:00 a.m. For the reasons stated on the record, Defendant's partial
motion to dismiss [11] is granted in part and denied in part. The IHRA claim is dismissed
only to the extent it pertains to the failure to promote; the motion otherwise is denied.
Defendant shall answer to the complaint by 3/2/2016.Mailed notice.(jlj, )




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